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                     IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION

 ZAKEYA STARKS                                Case No.: 1:22-cv-00382

 Plaintiff,                                   State Court Case No.: A2201970
                                              (removed from Hamilton County Court of
 v.                                           Common Pleas)

 K.E.L.L.Y YOUTH SERVICES, INC.               DEFENDANT K.E.L.L.Y YOUTH
                                              SERVICES, INC’S NOTICE OF
 Defendant                                    REMOVAL

                                       ***********

       Defendant K.E.L.L.Y Youth Services, Inc., pursuant to 28 USC §1332, and §1441,

hereby gives notice to this Honorable Court and all parties to this action of their removal

of this matter, currently pending as Case No. A2201970, in the Hamilton County Court of

Common Pleas, Hamilton County, Ohio, to the United States District Court for the

Southern District of Ohio, Western Division. In support of this Notice of Removal,

Defendant states as follows:

       1.     On June 2, 2022, Plaintiff filed a lawsuit in the Hamilton County Court of

Common Pleas, styled Zakeya Starks v. K.E.L.L.Y Youth Services, Inc., and it was

assigned case number A2201970.

       2.     The Complaint was served on the Defendant via certified mail and received

on June 6, 2022.

       3.     The Complaint seeks damages on behalf of the Plaintiff under 42 USC

§12101 (The Americans with Disabilities Act) and the Family First Corona Virus Relief Act

(FFCRA) and Ohio Revised Code §4112.01 (The Ohio Civil Rights Legislation).
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         4.    The Complaint alleges violation of the Federal Statutes over which this

court has original jurisdiction and the Ohio Statues on unlawful discriminatory practices

over which this court would have supplemental jurisdiction.

         5.    Jurisdiction is appropriate before this Honorable Court on the basis of

federal question and supplemental jurisdiction.

         6.    The United States District Court for the Southern District of Ohio, Western

Division, is the proper federal district court for removal, as Hamilton County, Ohio is

within the district. Accordingly, venue is appropriate pursuant to 28 USC §1441 as all

actions asserted in Plaintiff’s Complaint arise out of Hamilton County, Ohio.

         7.    Prior to removal the Defendant did not answer the Complaint.

         8.    Pursuant to 28 USC §1446, a copy of all pleadings and other papers filed in

the State Court proceedings is attached as Exhibit A.

         9.    This Notice of Removal will be served on all parties pursuant to 28 USC

§1446.

         10.   This Notice of Removal will be filed with the Hamilton County Clerk of

Courts pursuant to 28 USC §1446.

                                                  Respectfully submitted,


                                                   /s/Patricia J. Trombetta
                                                  Patricia J. Trombetta (0005451)
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                                                  Youth Services, Inc.

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                            CERTIFICATE OF SERVICE

                I hereby certify that a true and accurate copy of the foregoing was served
this 1st day of July, 2022, via email upon the following:


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                                                        /s/Patricia J. Trombetta
                                                       Patricia J. Trombetta, Esq.




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